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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-20377-CR-GAYLES

 UNITED STATES OF AMERICA

 vs.

 LETHERIO JOHNSON,

                                Defendant.
 - - - - - - - - - - - - - - - -I
                                       PLEA AGREEMENT

         The United States Attorney's Office for the Southern District of Florida ("this Office") and

 Ramon Munnings (hereinafter referred to as the "defendant") enter into the following agreement:

         1. The defendant agrees to plead guilty to Count 23 of the indictment, which count charges

 the defendant with Bringing Aliens to the United States for Commercial and Private Financial

 Gain, in violation of Title 8, United States Code, Section 1324(a)(2)(B)(ii).

         2. This Office agrees to seek dismissal of the remaining counts of the indictment, as to this

 defendant, after sentencing.

         3. The defendant is aware that the sentence will be imposed by the Court after considering

 the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter "Sentencing

  Guidelines").   The defendant acknowledges and understands that the Court will compute an

 advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

 determined by the Court relying in paii on the results of a pre-sentence investigation by the Comi' s

 probation office, which investigation will commence after the guilty plea has been entered. The

  defendant is also aware that, under ce1iain circumstances, the Court may depart from the advisory

  sentencing guideline range that it has computed, and may raise or lower that advisory sentence
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 under the Sentencing Guidelines. The defendant is further aware and understands that the Court

 is required to consider the advisory guideline range determined under the Sentencing Guidelines,

 but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor

 the ultimate sentence in light of other statutory concerns, and such sentence may be either more

 severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts, the

 defendant understands and acknowledges that the Comi has the authority to impose any sentence

 within and up to the statutory maximum authorized by law for the offenses identified in paragraph

 1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

        4. The defendant also understands and acknowledges that, as to Count 23, the Comi must

 impose a minimum term of imprisonment of three years imprisonment and may impose a statutory

 maximum term of imprisonment of up 10 years, followed by a term of supervised release of up to

 three years. In addition to a term of imprisonment and supervised release, the Court may impose a

 fine of up to $250,000, and may order forfeiture and restitution.

        5. The defendant fmiher understands and acknowledges that, in addition to any sentence

 imposed under paragraph 4 of this agreement, a special assessment in the amount of $100

 will be imposed on the defendant. The defendant agrees that any special assessment imposed shall

 be paid at the time of sentencing. If a defendant is financially unable to pay the special assessment,

 the defendant agrees to present evidence to this Office and the Comi at the time of sentencing as

 to the reasons for the defendant's failure to pay.

         6. This Office reserves the right to inform the Comi and the probation office of all facts

 pertinent to the sentencing process, including all relevant information concerning the offenses

 committed, whether charged or not, as well as concerning the defendant and the defendant's

 background. Subject only to the express terms of any agreed-upon sentencing recommendations
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 contained in this agreement, this Office further reserves the right to make any recommendation as

 to the quality and quantity of punishment.

         7. This Office agrees that it will recommend at sentencing that the Court reduce by two

 levels the sentencing guideline level applicable to the defendant's offense, pursuant to Section

 3El. l(a) of the Sentencing Guidelines, based upon the defendant's recognition and affirmative

 and timely acceptance of personal responsibility. If at the time of sentencing the defendant's

 offense level is determined to be 16 or greater, this Office will file a motion requesting an

 additional one level decrease pursuant to Section 3 E 1.1 (b) of the Sentencing Guidelines, stating

 that the defendant has assisted authorities in the investigation or prosecution of the defendant's

 own misconduct by timely notifying authorities of the defendant's intention to enter a plea of

 guilty, thereby pe1mitting the government to avoid preparing for trial and permitting the

 government and the Court to allocate their resources efficiently. This Office, however, will not be

 required to make this motion if the defendant: (1) fails or refuses to make a full, accurate and

 complete disclosure to the probation office of the circumstances suffounding the relevant offense

 conduct; (2) is found to have misrepresented facts to the government prior to entering into this plea

 agreement; or (3) commits any misconduct after entering into this plea agreement, including but

 not limited to committing a state or federal offense, violating any term of release, or making false

 statements or misrepresentations to any governmental entity or official.

         8. The defendant is aware that the sentence has not yet been determined by the Court. The

 defendant also is aware that any estimate of the probable sentencing range or sentence that the

 defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

 the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

  office or the Comi. The defendant understands further that any recommendation that this Office
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 makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

 on the Court and the Court may disregard the recommendation in its entirety. The defendant

 understands and acknowledges, as previously acknowledged in paragraph 3 above, that the

 defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

 recommendation made by the defendant, this Office, or a recommendation made jointly by the

 defendant and this Office.

         9. The defendant also agrees to fully cooperate with the Government in all proceedings,

 whether administrative or judicial, involving the forfeiture to the United States of all rights, title,

 and interest, regardless of their nature or form, in all assets, including real and personal property,

 cash and other monetary instruments, wherever located, which the defendant or others to the

 defendant's knowledge have accumulated as a result of illegal activities. Such assistance will

 involve the defendant's agreement to the entry of an order enjoining the transfer or encumbrance

 of assets that may be identified as being subject to forfeiture, 1 [including but not limited to those

 specific real and personal prope1iies set fmih in the forfeiture counts of the indictment].

 Additionally, defendant agrees to identify as being subject to forfeiture all such assets, and to assist

 in the transfer of such prope1iy to the United States by delivery to this Office upon this Office's

 request, all necessary and appropriate documentation with respect to said assets, including

 consents to forfeiture, quit claim deeds and any and all other documents necessary to deliver good

 and marketable title to said prope1iy.

         10. The defendant knowingly and voluntarily waives all constitutional, legal and equitable

 defenses to the forfeiture of the assets in any judicial or administrative proceeding, including any

 claim or defense under the Eighth Amendment to the United States Constitution; waives any


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 applicable time limits to the initiation of administrative or judicial proceedings, and waives any

 right to appeal the forfeiture.

 11 . The defendant further agrees that forfeiture is independent of any assessments, fines, costs,

 restitution orders, or any other penalty that may be imposed by the

         12. This is the entire agreement and understanding between this Office and the defendant.

 There are no other agreements, promises, representations, or understandings.


                                              MARKENZY LAPOINTE
                                              UNITED STATES ATTORNEY


 Date .                            By:
                                              iL/::;;:cH  T UNITED STATES ATTORNEY


 Date:   //lo{cJ. 3                By:
          I I
                                                                  DEFENDANT


 Date:    tfrt oIfJ.J              By:
                                              LETHERIO JOHNSON
                                              DEFENDANT




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